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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

EPIC GAMES, INC.,

        Plaintiff,                                              Case No.: 1:19-cv-07066

v.                                                              Emergency Judge Charles R. Norgle
                                                                Judge Joan H. Lefkow
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,                        Magistrate Judge Susan E. Cox

        Defendants.


                                    NOTICE OF MOTION

       PLEASE TAKE NOTICE that on Friday, December 6, 2019, at 10:30 a.m., Plaintiff, by

its counsel, shall appear before the Honorable Charles R. Norgle in Courtroom 2341 at the U.S.

District Court for the Northern District of Illinois, 219 South Dearborn Street, Chicago, Illinois,

and present Plaintiff’s Motion for Entry of a Preliminary Injunction.

DATED: December 2, 2019                              Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     111 West Jackson Boulevard, Suite 1700
                                                     Chicago, Illinois 60604
                                                     Telephone: 312-675-6079
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF

                                CERTIFICATE OF SERVICE

       I hereby certify that on December 2, 2019, I will electronically file the foregoing with the
Clerk of the Court using the CM/ECF system, I will electronically publish the documents on a
website to which the Defendant Domain Names that have been transferred to Epic Games’ control
now redirect, and I will send an e-mail to the e-mail addresses identified in Exhibit 2 to the
Declaration of Paul Varley and any e-mail addresses provided for Defendants by third parties that
includes a link to said website.
                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt, Esq.
